                                                                                  08/26/2024



                                                                              Case Number: DA 24-0102




           IN THE SUPREME COURT OF THE STATE OF MONTANA
                    Supreme Court Cause No. DA 24-0102
STATE OF MONTANA,

                Plaintiff and Appellee,

   v.

MICHAEL CHRISTIAN ECHEVERRIA,

               Defendant and Appellant.


ORDER GRANTING EXTENSION OF TIME TO FILE APPELLANT’S
                  OPENING BRIEF


         Upon consideration of Appellant’s motion for extension of time to file his

opening brief, and good cause appearing,

         IT IS HEREBY ORDERED that Appellant is granted an extension of

time to and including September 30, 2024 within which to file his opening

brief.




                                                                   Electronically signed by:
                                                                         Mike McGrath
                                                            Chief Justice, Montana Supreme Court
                                                                        August 26 2024
